           Case 2:04-cr-00280-KJM Document 34 Filed 06/24/05 Page 1 of 3


 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JESUS VAZQUEZ
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 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )
11                                      ) NO. CR.S-04-280-FCD
                       Plaintiff,       )
12                                      )
          v.                            )
13                                      )       STIPULATION AND ORDER;
                                        )          EXCLUSION OF TIME
14                                      )
     JESUS VAZQUEZ, et al.,             )
15                                      ) Date: July 25, 2005
                    Defendant.            Time: 9:30 a.m.
16   _____________________________        Judge: Hon. Frank C. Damrell

17        IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, WILLIAM WONG, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

20   Defender, SHARI    RUSK, ESQ, MICHAEL E. HANSEN, ESQ., attorneys for all

21   Defendants, that the status conference hearing date of June 27, 2005

22   shall be vacated and a status conference scheduled for July 25, 2005 at

23   9:30 a.m.

24        This continuance is requested as all defense counsel need

25   additional time to review discovery with the defendant, to examine

26   possible defenses and to continue investigating the facts of the case.

27        Accordingly, all counsel and the defendant agree that time under

28   the Speedy Trial Act from the date this stipulation is lodged, through
              Case 2:04-cr-00280-KJM Document 34 Filed 06/24/05 Page 2 of 3


 1   July 25, 2005, should be excluded in computing the time within which
 2   trial must commence under the Speedy Trial Act, pursuant to Title 18
 3   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 4   DATED:    June 24, 2005.                        Respectfully submitted,
 5                                                   QUIN DENVIR
                                                     Federal Public Defender
 6
 7
     DATED:    June 24, 2005.                        /s/ MARK J. REICHEL for
 8                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
 9                                                   Attorney for Jesus Vazquez
10
11                                                   /s/ MARK J. REICHEL for
                                                     SHARI RUSK
12                                                   Attorney for Defendant
                                                     Marco Antonio Vargas
13
14
                                                     /s/ MARK J. REICHEL for
15                                                   MICHAEL HANSEN
                                                     Attorney for Defendant
16                                                   Juan David Hernandez
17
18
                                                     McGREGOR SCOTT
19                                                   United States Attorney
20
21   DATED:    June 24, 2005.                        /s/ MARK J. REICHEL for
                                                     WILLIAM WONG
22                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
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           Case 2:04-cr-00280-KJM Document 34 Filed 06/24/05 Page 3 of 3


 1                                    O R D E R
 2        IT IS SO ORDERED.    The status conference hearing date of June 27,
 3   2005 shall be vacated and a status conference scheduled for July 25,
 4   2005 at 9:30 a.m. Time is excluded in the interests of justice pursuant
 5   to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 6
 7
     DATED: June 24, 2005                         /s/ Frank C. Damrell Jr.
 8                                                FRANK C. DAMRELL JR.
                                                  United States District Judge
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